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                                        CIVIL MINUTES


U.S. Chief Magistrate Judge James Larson


Date: February 16, 2006

Case No.: CR 04-0382 CRB (JL)

Case Name: USA, et al., v. Fuk Tai Chow

Counsel Present:       Plaintiff: Stephen h. Jigger

                       Defendant: Mark Rendon Vermeulen

Deputy Clerk: Venice E. Thomas

I hereby certify that a settlement conference was held in the above-referenced case with the
following outcome:

                              Settled

                              Partial settlement

                   X          Did not settle

                              Further settlement conference ordered:



Time:    3.0 hrs

Comments:



                                                      Venice E. Thomas, Deputy Clerk

cc: Wings Hom, Barbara Espinoza
